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January 11,202]: 2...
VIA ECF fn
The Honorable George B. Daniels, U.S.D.J. fe
U.S. District Court for the Southern District of New York |”
500 Pear) Street ,
New York, New York 10007

Dear Judge Daniels:

This firm represents the Plaintiff. We write jointly with Defendants’ counsel to
respectfully provide Your Honor with a status update and to request an adjournment of the
January 14, 2021, 9:45 a.m., status conference.

Discovery is presently scheduled to close on February 9, 2021 and the case is on
track: on January 7, 2021, Defendants deposed Plaintiff; and Plaintiff is scheduled to
depose Defendants on January 19 and 26. Given the current status of the case, the parties
respectfully request that the January 14 conference be adjourned.

We thank the Court for its time and attention to this matter.

Respectfully Submitted,
LIPSKY LOWE LLP

s/ Sara J. Isaacson
Sara J. Isaacson

ce: James Hays, Esq. (via ECF)

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Sean Kirby, Esq. (via ECF) AN 12 202 f Anite

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